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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                       SOUTHERN DIVISION at PIKEVILLE
                           No. 7:17-CV-__________________
     ____________________________________
     RODNEY THACKER,                      )
                                          )
                 Plaintiff                )     Complaint
                                          )
     vs.                                  )
                                          )
     MMD MINERAL SIZING                   )
     (AMERICA) INC., a Tennessee corp. )
                                          )
                 Defendant                )
     ____________________________________)

           Plaintiff Rodney Thacker for his complaint against defendant MMD

     Mineral Sizing (America) Inc. states as follows:

                                            I

                                  Nature of the Action

           1. This is an action pursuant to the Fair Labor Standards Act (FLSA),

     29 U.S.C. § 216(b), as amended, and KRS Chapter 337 seeking recovery of

     unpaid overtime compensation, liquidated damages, attorney’s fees, costs,

     litigation expenses and/or prejudgment interest.

                                            II

                                Jurisdiction and Venue

           2. This Court has jurisdiction over this action pursuant to 28 U.S.C. §

     1331, because plaintiff’s claims raise questions of federal law. The Court’s

     supplemental jurisdiction is properly exercised pursuant to 28 U.S.C. § 1367,

     because plaintiff’s federal and state law claims arise from and relate to a



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     common nucleus of operative and material fact. Venue is proper in this Court,

     because plaintiff’s place of employment, at all times pertinent to this lawsuit,

     for defendant was in Pike County, Kentucky.

                                            III

                                         Parties

           3. Plaintiff Rodney Thacker is a resident of Pike County, Kentucky.

           4. Defendant MMD Mineral Sizing (America) Inc. (hereinafter referred

     to as “MMD” or “defendant”) is a Tennessee corporation. According to the

     records of the Tennessee Secretary of State, it agent for service of process is

     David E. Pitchford, 41 Excellence Way, Vonore, TN 37885-2123. MMD may

     be served properly through the Kentucky Secretary of State.

                                            IV

                            Facts Giving Rise to the Lawsuit

           5. MMD is in the business, among other things, of selling and

     maintaining large equipment used in mining operations.

           6. Thacker was employed by MMD as a field technician from April 6,

     1998, to October 7, 2015.

           7. Thacker’s employment for MMD was not exempt from the overtime

     pay requirements of either the FLSA or KRS Chapter 337.

           8. MMD misclassified Thacker as an exempt salaried employee.

           9. MMD is and at all times pertinent to this lawsuit has been engaged

     in interstate commerce and has and has had annual gross volume of sales

     exceeding $500,000.


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           10. MMD, at all times pertinent to this case, was the “employer” of

     Thacker within the meaning of 29 U.S.C. § 203(d) and KRS 337.010(1)(d).

           11. Thacker, at all times pertinent to this case, was the “employee” of

     MMD within the meaning of 29 U.S.C. § 203(e) and KRS 337.010(1)(e).

           12. Throughout his employment by MMD Thacker was regularly and

     routinely required to and did regularly work in excess of forty (40) hours per

     workweek.

           13. At all times pertinent to this case, MMD knew, required, approved

     and/or suffered Thacker to work in excess of forty (40) hours per workweek.

           14. MMD required Thacker to work more than forty (40) hours per

     workweek without paying him overtime compensation even though he was

     employed in a non-exempt position.

           15. MMD willfully and intentionally required, approved and/or

     suffered Thacker to work more than forty (40) hours per workweek, while

     willfully and unlawfully designating and/or misclassifying his position as

     exempt from the overtime compensation requirements established by the

     FLSA and KRS Chapter 337.

           16. At all times pertinent to this lawsuit, MMD withheld state income

     taxes as to Thacker solely and only for the state of Kentucky.

                                            V

                                   Causes of Action

                 Count 1 – Failure to Pay Overtime In Violation of FLSA




                                            3
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           17. Thacker incorporates and realleges herein the preceding

     paragraphs 1 – 16 as if fully set forth herein.

           18. Under the FLSA, 29 U.S.C. § 207, et seq., MMD was required to

     compensate Thacker at an overtime rate for all hours worked in excess of

     forty (40) hours per workweek.

           19. The FLSA requires that overtime compensation be paid at a rate

     not less than one and one-half (1.5) times Thacker’s regular rate of pay.

           20. MMD required, suffered and/or permitted Thacker to work in

     excess of forty (40) hours per workweek but did not compensate him for such

     overtime work.

           21. As a result of MMD’s policy and practice of failing to pay overtime

     compensation, Thacker has been damaged in that he has not been paid by

     MMD the overtime compensation that he has earned.

           22. MMD’s failure to pay Thacker the overtime compensation he has

     earned was a willful and intentional violation of the FLSA.

          Count 2 – Failure to Pay Overtime In Violation of KRS Chapter 337

           23. Thacker incorporates and realleges herein the preceding

     paragraphs 1 – 22 as if fully set forth herein.

           24. Under KRS Chapter 337, MMD was required to compensate

     Thacker at an overtime rate for all hours worked in excess of forty (40) hours

     per workweek.

           25. KRS Chapter 337 requires that overtime compensation be paid at a

     rate not less than one and one-half (1.5) times Thacker’s regular rate of pay.

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           26. MMD required, suffered and/or permitted Thacker to work in

     excess of forty (40) hours per workweek but did not compensate him for such

     overtime work.

           27. As a result of MMD’s policy and practice of failing to pay overtime

     compensation, Thacker has been damaged in that he has not been paid by

     MMD the overtime compensation that he has earned.

           28. MMD’s failure to pay Thacker the overtime compensation he has

     earned was a willful and intentional violation of the KRS Chapter 337.

                                            VI

                                 Demand for Judgment

           Wherefore, plaintiff Rodney Thacker demands judgment against

     defendant MMD as follows:

           (1) entry of a judgment in his favor and against defendant requiring

     defendant to pay each him the overtime compensation due and owing him

     with an additional equal amount as liquidated damages as shown by the

     evidence at trial;

           (2) entry of a judgment awarding him prejudgment interest on his

     unpaid overtime compensation along with the costs, litigation expenses and

     reasonable attorney’s fees pursuant to the FLSA, KRS 337.385 and

     Fed.R.Civ. Pro. 54; and,

           (3) the grant of all other relief to which he is shown to be entitled.

                                 Demand for Jury Trial

           Plaintiff demands trial by jury on all issues herein so triable.


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                                          Respectfully submitted,

                                          By: /s/ Robert L. Abell
                                          ROBERT L. ABELL
                                          120 N. Upper Street
                                          Lexington, KY 40507
                                          (859) 254-7076
                                          (859) 281-6541 fax
                                          Robert@RobertAbellLaw.com
                                          COUNSEL FOR PLAINTIFF




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